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7
8                     IN THE UNITED STATES DISTRICT COURT
9                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )     Case No. 2:11-cr-0119-04 WBS
                                   )
12             Plaintiff,          )     STIPULATION AND [PROPOSED] ORDER
                                   )     CONTINUING STATUS CONFERENCE DATE
13        v.                       )
                                   )
14   JORGE SANDOVAL,               )
                                   )
15             Defendant.          )
                                   )
16                                 )
     ______________________________)
17
18        Plaintiff, United States of America, by its counsel, Assistant
19   United States Attorneys Jason Hitt and William S. Wong, and
20   defendant Jorge SANDOVAL, by and through his counsel Tim Pori, Esq.,
21   stipulate and agree that the existing status conference date of
22   August 12, 2013 should be vacated.       The parties further stipulate
23   and agree that a status conference should be set for October 21,
24   2013, at 9:30 a.m.
25        The parties believe a continuance of the status conference from
26   March to April will save judicial resources by eliminating an
27   unnecessary status conference because the defense counsel are
28   actively investigating the case and evaluating the trial transcripts

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1    from the previous 2009 and 2010 trials conducted in the related case
2    of United States v. Diaz, et al., Case No. 2:07-cr-0248 WBS.             In
3    addition, the government is in active negotiations with the
4    defendant to reach a possible resolution.          The time from today’s
5    date to October 21, 2013 will give the parties additional time to
6    try and resolve sentencing issues, the defendant’s outstanding
7    criminal case in San Francisco, and other matters related to the
8    defendant’s cooperation agreement with the government.            For these
9    reasons, the parties respectfully request that the Court vacate the
10   August 12, 2013 status conference date and set a new status
11   conference date of October 21, 2013, at 9:30 a.m. because it should
12   achieve a significant savings of time and judicial resources while
13   the parties get closer to reaching resolution or setting a trial
14   date.
15        The parties further stipulate and agree that the defendant and
16   defense counsel will benefit greatly from the additional time
17   between today’s date of August 12, 2013 and October 21, 2013 in
18   order for the defense to effectively evaluate the posture of the
19   case and complete the negotiation process and, in addition, in the
20   interests of justice under 18 U.S.C. § 3161(h)(8)(B)(iv) and Local
21   Code T4.    Accordingly, the parties stipulate and agree that time
22   should be excluded under the Speedy Trial Act pursuant to 18 U.S.C.
23   § 3161(h)(8)(B)(iv) and Local Code T4.
24        In addition, the defendant’s counsel concurs the Court’s
25   earlier finding that this matter is “complex” within the meaning of
26   18 U.S.C. § 3161(h)(7)(B)(ii) (Local Code T2) because of the
27   voluminous discovery, including three Title III wiretaps, the
28   complexity and nature of the underlying conspiracy theory involving

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1    both gang and drug trafficking activities, and the intertwined
2    related case involving many convicted defendants in United States v.
3    Diaz, et al., Case No. 2:07-cr-0248 WBS.        The parties therefore
4    stipulate that time between August 12, 2013, and October 21, 2013,
5    should be excluded from the Speedy Trial Act based upon the
6    complexity of this case under 18 U.S.C. § 3161(h)(7)(B)(ii) and
7    Local Code T2.
8                                                   Respectfully Submitted,
9                                                   BENJAMIN B. WAGNER
                                                    United States Attorney
10
11   DATED:   August 9, 2013                  By:   /s/Jason Hitt
                                                    JASON HITT
12                                                  WILLIAM S. WONG
                                                    Assistant U.S. Attorneys
13
14   DATED:   August 9, 2013                  By:   /s/Jason Hitt
                                                    Authorized to sign for Mr.
15                                                  Pori on 03-08-12
                                                    TIM PORI, Esq.
16                                                  Attorney for Jorge SANDOVAL
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1                                      ORDER
2         Based upon the representations and stipulation of counsel, IT
3    IS HEREBY ORDERED that:
4         1.   The status conference in this matter is set for August 12,
5    2013, at 9:30 a.m. is VACATED;
6         2.   A new status conference date is set for October 21, 2013,
7    at 9:30 a.m.; and
8         3.   Based upon the representations and stipulation of the
9    parties, the Court finds that the time exclusion under 18 U.S.C.
10   § 3161(h)(8)(B)(iv) applies and the ends of justice outweigh the
11   best interest of the public and the defendants in a speedy trial.
12   Accordingly, time under the Speedy Trial Act shall be excluded from
13   August 12, 2013, up to and including October 21, 2013.         The Court
14   further finds that this case complex and unusual because of the
15   voluminous discovery supporting the charges, the unique form of drug
16   conspiracy in the case, and extensive trial transcripts from the
17   related case involving many convicted defendants in United States v.
18   Diaz, et al., Case No. 2:07-cr-0248 WBS.       Accordingly, time under
19   the Speedy Trial Act shall be excluded through October 21, 2013,
20   pursuant to 18 U.S.C. § 3161(h)(7)(B)(ii) and Local Code T2.
21
22        IT IS SO ORDERED.
23
24   DATED: August 9, 2013
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